Fill in this information to identify your case:


     United States Bankruptcy Court for the:
                  Northern                           District of   Ohio
     Case number                                                    Chapter you are filing under:
     (If known)
                                                                           Chapter 7
                                                                           Chapter 11
                                                                           Chapter 12
                                                                           Chapter 13                                                          Check if this is an
                                                                                                                                                 amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                        12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a
car,” the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1
and Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2.
The same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:           Identify Yourself

                                               About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       Write the name that is on your
       government-issued picture         Joel
       identification (for example, your First name                                                             First name
       driver’s license or passport).
                                         Junior
       Bring your picture                Middle name                                                            Middle name
       identification to your meeting
       with the trustee.                 Muniz
                                               Last name                                                        Last name

                                               Jr.
                                               Suffix (Sr., Jr., II, III)                                       Suffix (Sr., Jr., II, III)


2.     All other names you have
       used in the last 8 years                First name                                                       First name
       Include your married or
       maiden names.                           Middle name                                                      Middle name


                                               Last name                                                        Last name



                                               First name                                                       First name


                                               Middle name                                                      Middle name


                                               Last name                                                        Last name



3.     Only the last 4 digits of
       your Social Security                    xxx       – xx – _4_ _0_ _7_ _4_                                 xxx       – xx – __ __ __ __
       number or federal                       OR                                                               OR
       Individual Taxpayer
       Identification number                   9 xx – xx –__ __ __ __                                           9 xx – xx –__ __ __ __
       (ITIN)

Official Form 101                                                    Voluntary Petition for Individuals Filing for Bankruptcy                                  page 1




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Debtor 1     Joel              Junior                       Muniz Jr.                               Case number (if known)
             First Name        Middle Name                  Last Name


                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4. Any business names and
   Employer Identification                I have not used any business names or EINs.                  I have not used any business names or EINs.
   Numbers (EIN) you have
   used in the last 8 years
   Include trade names and         Business name                                                 Business name
   doing business as names


                                   Business name                                                 Business name



                                      –                                                             –
                                   EIN                                                           EIN


                                      –                                                             –
                                   EIN                                                           EIN


5. Where you live                                                                                If Debtor 2 lives at a different address:



                                   1243            Ottawa Ave.
                                   Number          Street                                        Number          Street




                                   Defiance                                 OH       43512
                                   City                                     State    ZIP Code    City                                     State    ZIP Code



                                   Defiance
                                   County                                                        County


                                   If your mailing address is different from the one             If Debtor 2’s mailing address is different from the
                                   above, fill it in here. Note that the court will send         one above, fill it in here. Note that the court will
                                   any notices to you at this mailing address.                   send any notices to you at this mailing address.



                                   Number          Street                                        Number          Street




                                   City                                     State    ZIP Code    City                                     State    ZIP Code


6. Why you are choosing            Check one:                                                    Check one:
   this district to file for
   bankruptcy                       Over the last 180 days before filing this petition, I        Over the last 180 days before filing this petition, I
                                          have lived in this district longer than in any other          have lived in this district longer than in any other
                                          district.                                                     district.

                                    I have another reason. Explain.                              I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)




Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                            page 2



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Debtor 1     Joel              Junior                        Muniz Jr.                              Case number (if known)
             First Name        Middle Name                   Last Name


Part 2:    Tell the Court About Your Bankruptcy Case


7. The chapter of the              Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals
   Bankruptcy Code you are         Filing for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   choosing to file under
                                        Chapter 7

                                        Chapter 11

                                        Chapter 12

                                        Chapter 13

8. How you will pay the fee                 I will pay the entire fee when I file my petition. Please check with the clerk’s office in
                                             your local court for more details about how you may pay. Typically, if you are paying the
                                             fee yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                             submitting your payment on your behalf, your attorney may pay with a credit card or
                                             check with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                             Application for Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for
                                             Chapter 7. By law, a judge may, but is not required to, waive your fee, and may do so only
                                             if your income is less than 150% of the official poverty line that applies to your family size
                                             and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file
                                             it with your petition.

9. Have you filed for                   No
   bankruptcy within the last
   8 years?                             Yes.     District                            When                      Case number
                                                                                              MM / DD / YYYY

                                                  District                            When                      Case number
                                                                                              MM / DD / YYYY

                                                  District                            When                      Case number
                                                                                              MM / DD / YYYY



10. Are any bankruptcy                  No
    cases pending or being
    filed by a spouse who is            Yes.     Debtor                                                        Relationship to you
    not filing this case with
                                                  District                            When                      Case number, if known
    you, or by a business
                                                                                              MM / DD / YYYY
    partner, or by an affiliate?


                                                  Debtor                                                        Relationship to you

                                                  District                            When                      Case number, if known
                                                                                              MM / DD / YYYY



11. Do you rent your                    No.      Go to line 12.
    residence?                          Yes.     Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file
                                                          it with this bankruptcy petition.




Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                      page 3




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Debtor 1        Joel                Junior                           Muniz Jr.                                 Case number (if known)
                First Name          Middle Name                      Last Name


Part 3:        Report About Any Businesses You Own as a Sole Proprietor

12.   Are you a sole proprietor            No. Go to Part 4.
      of any full- or part-time
      business?                            Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an
      individual, and is not a                          Name of business, if any
      separate legal entity such as a
      corporation, partnership, or
      LLC.
                                                        Number        Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.

                                                         City                                                      State        ZIP Code


                                                        Check the appropriate box to describe your business:

                                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                               None of the above


13.   Are you filing under                If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                   can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and are             most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
                                          if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      you a small business
      debtor?
      For a definition of small
                                                 No.     I am not filing under Chapter 11.
      business debtor, see 11
      U.S.C. § 101(51D).
                                                 No.     I am filing under Chapter 11, but I am NOT a small business debtor according to the definition
                                                          in the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                       Bankruptcy Code.

Part 4:        Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.   Do you own or have any                     No
      property that poses or is
      alleged to pose a threat of                Yes. What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own
      any property that needs
      immediate attention?
                                                         If immediate attention is needed, why is it needed?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?


                                                         Where is the property?
                                                                                    Number         Street




                                                                                    City                                            State      ZIP Code


Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                       page 4




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Debtor 1        Joel                Junior                     Muniz Jr.                                 Case number (if known)
                First Name          Middle Name                Last Name


Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received
      briefing about credit               You must check one:                                          You must check one:
      counseling.
                                           I received a briefing from an approved credit               I received a briefing from an approved credit
      The law requires that you              counseling agency within the 180 days before I               counseling agency within the 180 days before I
      receive a briefing about credit        filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      counseling before you file for         certificate of completion.                                   certificate of completion.
      bankruptcy. You must truthfully        Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      check one of the following             plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      choices. If you cannot do so,
      you are not eligible to file.        I received a briefing from an approved credit               I received a briefing from an approved credit
                                             counseling agency within the 180 days before I               counseling agency within the 180 days before I
      If you file anyway, the court can      filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
      dismiss your case, you will lose       a certificate of completion.                                 a certificate of completion.
      whatever filing fee you paid,          Within 14 days after you file this bankruptcy                Within 14 days after you file this bankruptcy
      and your creditors can begin           petition, you MUST file a copy of the certificate and        petition, you MUST file a copy of the certificate and
      collection activities again.           payment plan, if any.                                        payment plan, if any.

                                           I certify that I asked for credit counseling                I certify that I asked for credit counseling
                                             services from an approved agency, but was                    services from an approved agency, but was
                                             unable to obtain those services during the 7                 unable to obtain those services during the 7
                                             days after I made my request, and exigent                    days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                             of the requirement.                                          of the requirement.
                                             To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                             requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                             what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                             you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                             bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                             required you to file this case.                              required you to file this case.

                                             Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                             If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved                You must file a certificate from the approved
                                             agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                             may be dismissed.                                            may be dismissed.
                                             Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                             only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                             days.                                                        days.

                                           I am not required to receive a briefing about               I am not required to receive a briefing about
                                             credit counseling because of:                                credit counseling because of:

                                              Incapacity.      I have a mental illness or a               Incapacity.      I have a mental illness or a
                                                                mental deficiency that makes me                              mental deficiency that makes me
                                                                incapable of realizing or making                             incapable of realizing or making
                                                                rational decisions about finances.                           rational decisions about finances.

                                              Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                                to be unable to participate in a                             to be unable to participate in a
                                                                briefing in person, by phone, or                             briefing in person, by phone, or
                                                                through the internet, even after I                           through the internet, even after I
                                                                reasonably tried to do so.                                   reasonably tried to do so.

                                              Active duty. I am currently on active military              Active duty. I am currently on active military
                                                                duty in a military combat zone.                              duty in a military combat zone.

                                             If you believe you are not required to receive a             If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.

Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                           page 5




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Debtor 1      Joel              Junior                     Muniz Jr.                                   Case number (if known)
              First Name        Middle Name                Last Name


Part 6:      Answer These Questions for Reporting Purposes

                                     16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do               as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                              No. Go to line 16b.
                                              Yes. Go to line 17.

                                     16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                          money for a business or investment or through the operation of the business or investment.

                                              No. Go to line 16c.
                                              Yes. Go to line 17.

                                     16c. State the type of debts you owe that are not consumer debts or business debts.



17.   Are you filing under
      Chapter 7?                         No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after         Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                 administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and
      administrative expenses                      No
      are paid that funds will be                  Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do              1-49                                  1,000-5,000                                25,001-50,000
      you estimate that you              50-99                                 5,001-10,000                               50,001-100,000
      owe?                               100-199                               10,001-25,000                              More than 100,000
                                         200-999

19.   How much do you                    $0-$50,000                            $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your assets to            $50,001-$100,000                      $10,000,001-$50 million                    $1,000,000,001-$10 billion
      be worth?
                                         $100,001-$500,000                     $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                         $500,001-$1 million                   $100,000,001-$500 million                  More than $50 billion

20.   How much do you                    $0-$50,000                            $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your liabilities to       $50,001-$100,000                      $10,000,001-$50 million                    $1,000,000,001-$10 billion
      be?
                                         $100,001-$500,000                     $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                         $500,001-$1 million                   $100,000,001-$500 million                  More than $50 billion
Part 7:      Sign Below

                                     I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                              correct.
                                     If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or
                                     13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                     under Chapter 7.
                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                     this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                     with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                     18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                     /S/ Joel Junior Muniz Jr.                                     /S/
                                         Signature of Debtor 1                                          Signature of Debtor 2

                                         Executed on       03/20/2019                                   Executed on
                                                         MM / DD / YYYY                                                MM / DD / YYYY

Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                            page 6




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Debtor 1     Joel           Junior                        Muniz Jr.                              Case number (if known)
             First Name     Middle Name                   Last Name


                                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
For your attorney, if you are    eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
represented by one               relief available under each chapter for which the person is eligible. I also certify that I have delivered to the
                                 debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I
                                 have no knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
If you are not represented by
an attorney, you do not need
to file this page.               /S/ Jeffrey J. Horvath                                           Date               03/20/2019
                                     Signature of Attorney for Debtor                                                MM / DD / YYYY




                                     Jeffrey J. Horvath
                                     Printed name


                                     Law Office of Jeffey J. Horvath
                                     Firm name


                                     306         Clinton St.
                                     Number      Street




                                     Defiance                                                     OH              43512
                                     City                                                         State           ZIP Code




                                     Contact phone 419-782-0051                                   Email address    jeff@horvathlawoffice.com




                                     0073336                                                      Ohio
                                     Bar number                                                   State




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                        page 7




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Fill in this information to identify your case:


 Debtor 1              Joel                         Junior                MunizJr.
                       First Name                   Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name                   Middle Name           Last Name


 United States Bankruptcy Court for the: Northern                         District of   Ohio
 Case number
  (If known)
                                                                                                                 Check if this is an amended filing.

Official Form 106A/B
Schedule A/B Property                                                                                                                                         12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write your name and case number (if known). Answer every question.


Part 1:            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.
            Yes. Where is the property?
                                                                  What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                             the amount of any secured claims on Schedule
                                                                                                                     D: Creditors Who Have Claims Secured by
    1.1. 1243 Ottawa Ave.                                            Duplex or multi-unit building                  Property.
         Street address, if available, or other description          Condominium or cooperative
                                                                                                                     Current value of the Current value of the
                                                                     Manufactured or mobile home                    entire property?     portion you own?
                                                                     Land
                                                                     Investment property                            $         27,470.00     $           27,470.00
                                                                     Timeshare
                                                                     Other                                          Describe the nature of your ownership
            Defiance                       OH          43512                                                         interest (such as fee simple, tenancy by
            City                            State      ZIP Code                                                      the entireties, or a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                                                                     Debtor 1 only
                                                                                                                                          fee simple
                                                                     Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                          Check if this is community
            Defiance
            County
                                                                     At least one of the debtors and another              property (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:
    If you own or have more than one, list here:
                                                                  What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                             the amount of any secured claims on Schedule
                                                                                                                     D: Creditors Who Have Claims Secured by
    1.2.                                                             Duplex or multi-unit building                  Property.
            Street address, if available, or other description       Condominium or cooperative
                                                                                                                     Current value of the Current value of the
                                                                     Manufactured or mobile home                    entire property?     portion you own?
                                                                     Land
                                                                     Investment property                            $                        $
                                                                     Timeshare
                                                                     Other                                          Describe the nature of your ownership
                                                                                                                     interest (such as fee simple, tenancy by
            City                            State      ZIP Code                                                      the entireties, or a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                                                                     Debtor 1 only
                                                                     Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                          Check if this is community

            County
                                                                     At least one of the debtors and another              property (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:

Official Form 106A/B                                                           Schedule A/B: Property                                                        page 1



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Debtor 1           Joel                  Junior                     Muniz Jr.                                     Case number (if known)
                   First Name            Middle Name                Last Name


                                                                   What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put
                                                                       Single-family home                                 the amount of any secured claims on Schedule D:
   1.3.                                                                Duplex or multi-unit building                      Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description          Condominium or cooperative
                                                                                                                           Current value of the Current value of the
                                                                       Manufactured or mobile home                        entire property?     portion you own?
                                                                       Land
                                                                       Investment property                                $                        $
                                                                       Timeshare
                                                                       Other                                              Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
           City                            State       ZIP Code                                                            the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                       Debtor 1 only
                                                                       Debtor 2 only
                                                                       Debtor 1 and Debtor 2 only                             Check if this is community property

           County
                                                                       At least one of the debtors and another                 (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                        $      27,470.00
   you have attached for Part 1. Write that number here. ................................................................................... 




Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any
vehicles you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired
Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
          No
          Yes


           Make:                       Mercury                    Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
  3.1.

           Model:                      Mountaineer
                                                                      Debtor 1 only                                       the amount of any secured claims on Schedule D:
                                                                                                                           Creditors Who Have Claims Secured by Property.
                                                                      Debtor 2 only
           Year:                       1999                           Debtor 1 and Debtor 2 only                          Current value of the Current value of the
           Approximate mileage: 240000                                At least one of the debtors and another             entire property?     portion you own?

           Other information:
                                                                      Check if this is community property (see
                                                                                                                                                    $            400.00
                                                                       instructions)                                       $               400.00
            Purchased for $400



   If you own or have more than one, describe here:

           Make:                                                  Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
  3.2.

           Model:
                                                                      Debtor 1 only                                       the amount of any secured claims on Schedule D:
                                                                                                                           Creditors Who Have Claims Secured by Property.
                                                                      Debtor 2 only
           Year:                                                      Debtor 1 and Debtor 2 only                          Current value of the Current value of the
           Approximate mileage:                                       At least one of the debtors and another             entire property?     portion you own?

           Other information:
                                                                      Check if this is community property (see
                                                                                                                                                    $
                                                                       instructions)                                       $




Official Form 106A/B                                                            Schedule A/B: Property                                                             page 2




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Debtor 1          Joel                       Junior                           Muniz Jr.                                                 Case number (if known)
                  First Name                 Middle Name                      Last Name


                                                                             Who has an interest in the property? Check one.                        Do not deduct secured claims or exemptions. Put
     3.3. Make:

            Model:
                                                                                  Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                                                                                                                                    Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
            Year:                                                                 Debtor 1 and Debtor 2 only                                       Current value of the Current value of the
            Approximate mileage:                                                  At least one of the debtors and another                          entire property?     portion you own?

            Other information:
                                                                                  Check if this is community property (see
                                                                                   instructions)                                                    $                               $



                                                                             Who has an interest in the property? Check one.                        Do not deduct secured claims or exemptions. Put
     3.4. Make:

            Model:
                                                                                  Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                                                                                                                                    Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
            Year:                                                                 Debtor 1 and Debtor 2 only                                       Current value of the Current value of the
            Approximate mileage:                                                  At least one of the debtors and another                          entire property?     portion you own?

            Other information:
                                                                                  Check if this is community property (see
                                                                                   instructions)                                                    $                               $




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
    ..No
     Yes
                                                                             Who has an interest in the property? Check one.                        Do not deduct secured claims or exemptions. Put
     4.1. Make:

            Model:
                                                                                  Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                                                                                                                                    Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
            Year:                                                                 Debtor 1 and Debtor 2 only                                       Current value of the Current value of the
            Other information:                                                    At least one of the debtors and another                          entire property?     portion you own?


                                                                                  Check if this is community property (see
                                                                                   instructions)                                                    $                               $




    If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                        Do not deduct secured claims or exemptions. Put
     4.2. Make:

            Model:
                                                                                  Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                                                                                                                                    Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
            Year:                                                                 Debtor 1 and Debtor 2 only                                       Current value of the Current value of the
            Other information:                                                    At least one of the debtors and another                          entire property?     portion you own?


                                                                                  Check if this is community property (see
                                                                                   instructions)                                                    $                               $




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                    $      400.00
   you have attached for Part 2. Write that number here ....................................................................................................................... 




Official Form 106A/B                                                                        Schedule A/B: Property                                                                          page 3



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Debtor 1           Joel                        Junior                             Muniz Jr.                                                   Case number (if known)
                   First Name                  Middle Name                        Last Name

Part 3:        Describe Your Personal and Household Items
                                                                                                                                                                                     Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                    portion you own?
                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                     or exemptions.

6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    ..No                                Household furniture, furnishings, appliances, linens, and kitchenware
    ..Yes. Describe. ...                                                                                                                                                            $               1,200.00

7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
              collections; electronic devices including cell phones, cameras, media players, games
    ..No                                Televisions, radios, cell phone, computer and miscellaneous electronic devices
    ..Yes. Describe. ...                                                                                                                                                            $                 800.00

8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    ..No
    ..Yes. Describe. ...                                                                                                                                                            $

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
              canoes and kayaks; carpentry tools; musical instruments
    ..No
    ..Yes. Describe. ...                                                                                                                                                            $

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    ..No
    ..Yes. Describe. ...                                                                                                                                                            $

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    ..No                                Clothing and personal attire
    ..Yes. Describe. ...                                                                                                                                                            $                 600.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
    ..No
    ..Yes. Describe. ...                                                                                                                                                            $

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

    ..No
    ..Yes. Describe. ...                                                                                                                                                            $


14. Any other personal and household items you did not already list, including any health aids you did not list

    ..No
    ..Yes. Describe. ...                                                                                                                                                            $

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have                                                                                 $              2,600.00
    attached for Part 3. Write that number here ................................................................................................................................... 



Official Form 106A/B                                                                             Schedule A/B: Property                                                                                  page 4



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Debtor 1           Joel                               Junior                                    Muniz Jr.                                                                  Case number (if known)
                   First Name                         Middle Name                               Last Name


Part 4:       Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                                                                                                     Current value of the
                                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                                claims or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

         No
         Yes ................................................................................................................................................................... 
                                                                                                                                                                                        Cash: .................. $                20.00



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage
             houses, and other similar institutions. If you have multiple accounts with the same institution, list each.
          No
          Yes...................                                                                        Institution name:


                                              17.1. Checking account:                                    Citizens Bank                                                                                          $                 500.00

                                              17.2. Checking account:                                                                                                                                           $

                                              17.3. Savings account:                                                                                                                                            $

                                              17.4. Savings account:                                                                                                                                            $

                                              17.5. Certificates of deposit:                                                                                                                                    $

                                              17.6. Other financial account:                                                                                                                                    $

                                              17.7. Other financial account:                                                                                                                                    $

                                              17.8. Other financial account:                                                                                                                                    $

                                              17.9. Other financial account:                                                                                                                                    $




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
         No
         Yes ...............                Institution or issuer name:

                                                                                                                                                                                                                $

                                                                                                                                                                                                                $

                                                                                                                                                                                                                $



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an
    interest in an LLC, partnership, and joint venture
    No                                      Name of entity:                                                                                                                           % of ownership:
   Yes. Give specific
           information about                                                                                                                                                           0.00 %                   $
           them.
                                                                                                                                                                                       0.00 %                   $

                                                                                                                                                                                                                $
                                                                                                                                                                                       0.00 %




Official Form 106A/B                                                                                                Schedule A/B: Property                                                                                        page 5


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20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

         No
   Yes. Give specific                    Issuer name:
           information about                                                                                                               $
           them. ...................
                                                                                                                                           $

                                                                                                                                           $

21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each
       account separately. Type of account:        Institution name:

                                           401(k) or similar plan:                                                                         $        10,000.00

                                           Pension plan:                                                                                   $

                                           IRA:                                                                                            $

                                           Retirement account:                                                                             $

                                           Keogh:                                                                                          $

                                           Additional account:                                                                             $

                                           Additional account:                                                                             $


22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others
    No
          Yes .........................                         Institution name or individual:

                                           Electric:                                                                                       $

                                           Gas:                                                                                            $

                                           Heating oil:                                                                                    $

                                           Security deposit on rental unit:                                                                $

                                           Prepaid rent:                                                                                   $

                                                                                                                                           $
                                           Telephone:
                                                                                                                                           $
                                           Water:
                                                                                                                                           $
                                           Rented furniture:
                                                                                                                                           $
                                           Other:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
    Yes ...........................       Issuer name and description:
                                                                                                                                               $

                                                                                                                                               $

                                                                                                                                               $

Official Form 106A/B                                                                  Schedule A/B: Property                                            page 6



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                   First Name                          Middle Name             Last Name


24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
    Yes .................................... Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
                                                                                                                                                         $

                                                                                                                                                         $
                                                                                                                                                         $


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit
    No
          Yes. Give specific
           information about them.                                                                                                                       $
           .........................................

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
          Yes. Give specific
           information about them.                                                                                                                       $

27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
          Yes. Give specific
           information about them.                                                                                                                       $


Money or property owed to you?                                                                                                                           Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you
    No
          Yes. Give specific information about                                                                                       Federal:               $
           them, including whether you
           already filed the returns and the tax                     2019 income tax refunds, EIC and additional CTC                  State:                 $
           years. ...........................................
                                                                                                                                      Local:                 $


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
    Yes. Give specific information.............
                                                                                                                                   Alimony:              $
                                                                                                                                   Maintenance:          $
                                                                                                                                   Support:              $
                                                                                                                                   Divorce settlement:   $
                                                                                                                                   Property settlement: $

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
             compensation, Social Security benefits; unpaid loans you made to someone else
    No
    Yes. Give specific information.............                     Earned Income Credit and additional child tax credit
                                                                                                                                                             $




Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 7



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                   First Name                  Middle Name                        Last Name


31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

           No

           Yes.Name the insurance company                        Company name:                                                         Beneficiary:                                    Surrender or refund
                                                                                                                                                                                        value:
            of each policy and list its value. .....
                                                                  Anthem (term)                                                         Sons
                                                                                                                                                                                        $
                                                                                                                                                                                        $
                                                                                                                                                                                        $
32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to
   receive property because someone has died.
     No
           Yes. Give specific information. .........                                                                                                                                   $


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
           Yes. Describe each claim. ..............                                                                                                                                    $

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No

           Yes. Describe each claim. ............                                                                                                                                      $




35. Any financial assets you did not already list

     No
     Yes. Give specific information. ....                                                                                                                                              $



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here ...................................................................................................................................        $     10,520.00


Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.
           Yes. Go to line 38.
                                                                                                                                                                                        Current value of the
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

38. Accounts receivable or commissions you already earned
          No

           Yes. Describe .                                                                                                                                                              $

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

           No

           Yes. Describe .                                                                                                                                                              $


Official Form 106A/B                                                                              Schedule A/B: Property                                                                                 page 8



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Debtor 1            Joel                         Junior                               Muniz Jr.                                                       Case number (if known)
                    First Name                   Middle Name                          Last Name



40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
           No
           Yes. Describe .                                                                                                                                                                       $


41. Inventory
    No
           Yes. Describe .                                                                                                                                                                       $



42. Interests in partnerships or joint ventures
           No
           Yes. Describe ...... Name of entity:                                                                                                                   % of ownership:

                                                                                                                                                                                  0.00%            $

                                                                                                                                                                                  0.00%            $               0.00
                                                                                                                                                                                  0.00%            $



43. Customer lists, mailing lists, or other compilations
    No
          Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   No
                   Yes. Describe. .......                                                                                                                                                        $



44. Any business-related property you did not already list
    No
           Yes. Give                                                                                                                                                                              $
            specific
            information                                                                                                                                                                            $
                                                                                                                                                                                                  $
                                                                                                                                                                                                  $
                                                                                                                                                                                                  $
                                                                                                                                                                                                   $


45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                    $                0.00
    for Part 5. Write that number here ..................................................................................................................................................... 


Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                                                 claims or exemptions.
47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
        No
           Yes .....................
                                                                                                                                                                                                  $


Official Form 106A/B                                                                                  Schedule A/B: Property                                                                                       page 9



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Debtor 1             Joel                           Junior                                Muniz Jr.                                                         Case number (if known)
                     First Name                     Middle Name                           Last Name


48. Crops—either growing or harvested
            No
            Yes. Give specific
             information..............                                                                                                                                                                         $

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    No
            Yes .....................
                                                                                                                                                                                                               $

50. Farm and fishing supplies, chemicals, and feed
            No
            Yes ....................
                                                                                                                                                                                                               $

51. Any farm- and commercial fishing-related property you did not already list
           No
            Yes. Give specific
             information. ........                                                                                                                                                                             $

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here .....................................................................................................................................................              $            0.00


Part 7:           Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership

            No
                                                                                                                                                                                                           $
            Yes. Give
             specific
                                                                                                                                                                                                           $
             information. .....

                                                                                                                                                                                                           $



54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................                                                      $            0.00


Part 8:           List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ................................................................................................................................................................        $   27,470.00

56. Part 2: Total vehicles, line 5                                                                                 $                    400.00

57. Part 3: Total personal and household items, line 15                                                            $                 2,600.00

58. Part 4: Total financial assets, line 36                                                                        $               10,520.00

59. Part 5: Total business-related property, line 45                                                               $                        0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                      $                        0.00

61. Part 7: Total other property not listed, line 54                                                           +$                           0.00

62. Total personal property. Add lines 56 through 61. .................                                            $               13,520.00 Copy personal property total                                 +$      13,520.00



63. Total of all property on Schedule A/B. Add line 55 + line 62. ....................................................................................                                                         $   40,990.00



Official Form 106A/B                                                                                       Schedule A/B: Property                                                                                    page 10


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Fill in this information to identify your case:


 Debtor 1               Joel                         Junior                    MunizJr.
                        First Name                   Middle Name                Last Name

 Debtor 2
  (Spouse, if filing)   First Name                   Middle Name                Last Name


  United States Bankruptcy Court for the: Northern                              District of   Ohio

 Case number
   (If known)
                                                                                                                              Check if this is an amended filing.


Official Form 106C
Schedule C: The Property You Claim As Exempt                                                                                                                            04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Part 1:             Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
            You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
            You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

          Brief description of the property and line on            Current value of the              Amount of the exemption you claim       Specific laws that allow
          Schedule A/B that lists this property                    portion you own                                                           exemption
                                                                   Copy the value from               Check only one box for each
                                                                   Schedule A/B                      exemption.

         Brief                                                                                                                             2329.66A(1)
         description:           Personal residence                 $           27,470.00               $       27,470.00
         Line from                                                                                     100% of fair market value, up to
         Schedule               1.1                                                                      any applicable statutory limit
         A/B:
         Brief                                                                                                                             2329.66A(4)a
         description:           Household Goods                    $            1,200.00               $        1,200.00
         Line from                                                                                     100% of fair market value, up to
         Schedule               6                                                                        any applicable statutory limit
         A/B:
         Brief                                                                                                                             2329.66A(4)a
         description:           Electronics                        $               800.00              $          800.00
         Line from                                                                                     100% of fair market value, up to
         Schedule               7                                                                        any applicable statutory limit
         A/B:

3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                   Yes

Official Form 106C                                                     Schedule C: The Property You Claim As Exempt                                                page 1 of 2




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              First Name               Middle Name            Last Name


Part 2:      Additional Page

      Brief description of the property and line on        Current value of the      Amount of the exemption you claim         Specific laws that allow
      Schedule A/B that lists this property                portion you own                                                     exemption
                                                           Copy the value from       Check only one box for each exemption
                                                           Schedule A/B

       Brief                                                                                                                 2329.66A(4)a
       description:        Clothing                       $                600.00       $         600.00
       Line from                                                                        100% of fair market value, up to
       Schedule A/B:          11                                                         any applicable statutory limit

       Brief                                                                                                                 2329.66A(3)
       description:        Cash on hand                   $                 20.00       $          20.00
       Line from                                                                        100% of fair market value, up to
       Schedule A/B:          16                                                         any applicable statutory limit

       Brief                                                                                                                 2329.66A(3)
       description:        Citizens Bank account          $                500.00       $         500.00                    2329.66A(18)
       Line from                                                                        100% of fair market value, up to
       Schedule A/B:         17.1                                                        any applicable statutory limit

       Brief                                                                                                                 2329.66A(10)
       description:        401(k)                         $          10,000.00          $
       Line from                                                                        100% of fair market value, up to
       Schedule A/B:          21                                                         any applicable statutory limit

       Brief                                                                                                                 2329.66A(2)
       description:        Automobile                     $                400.00       $         400.00
       Line from                                                                        100% of fair market value, up to
       Schedule A/B:          3.1                                                        any applicable statutory limit

       Brief                                                                                                                 2329.66A(3)
       description:
                           Income tax refunds             $               1,655.00      $       1,100.00                    2329.66A(18)
       Line from                                                                        100% of fair market value, up to
       Schedule A/B:          28                                                         any applicable statutory limit

       Brief                                                                                                                 2329.66A(9)g
       description:        EIC and child tax credit       $                             $
       Line from                                                                        100% of fair market value, up to
       Schedule A/B:          30                                                         any applicable statutory limit

       Brief
       description:                                       $                             $
       Line from                                                                        100% of fair market value, up to
       Schedule A/B:                                                                     any applicable statutory limit

       Brief
       description:                                       $                             $
       Line from                                                                        100% of fair market value, up to
       Schedule A/B:                                                                     any applicable statutory limit

       Brief
       description:                                       $                             $
       Line from                                                                        100% of fair market value, up to
       Schedule A/B:                                                                     any applicable statutory limit

       Brief
       description:                                       $                             $
       Line from                                                                        100% of fair market value, up to
       Schedule A/B:                                                                     any applicable statutory limit

       Brief
       description:                                       $                             $
       Line from                                                                        100% of fair market value, up to
       Schedule A/B:                                                                     any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                          page   2 of 2



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Fill in this information to identify your case:


 Debtor 1              Joel                       Junior                    MunizJr.
                       First Name                  Middle Name              Last Name

 Debtor 2
 (Spouse, if filing)   First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: Northern                           District of   Ohio
 Case number
  (If known)
                                                                                                                   Check if this is an amended filing.
Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).
1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.

Part 1:        List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor                  Column A                 Column B               Column C
      separately for each claim. If more than one creditor has a particular claim, list the other             Amount of claim          Value of collateral    Unsecured
      creditors in Part 2. As much as possible, list the claims in alphabetical order according to the        Do not deduct the        that supports this     portion
      creditor’s name.                                                                                        value of collateral.     claim                  If any

2.1
                                                           Describe the property that secures the claim:      $                        $                      $
      Creditor’s Name


      Number            Street                             As of the date you file, the claim is: Check all
                                                           that apply.
                                                            Contingent
                                                            Unliquidated
      City                          State    ZIP Code       Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   Debtor 1 only                            An agreement you made (such as mortgage or
   Debtor 2 only                             secured car loan)
   Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another  Judgment lien from a lawsuit
   Check if this claim relates to a         Other (including a right to offset)
        community debt
  Date debt was incurred                                   Last 4 digits of account number
2.2
                                                           Describe the property that secures the claim:      $                        $                      $
      Creditor’s Name


      Number            Street                             As of the date you file, the claim is: Check all
                                                           that apply.
                                                            Contingent
                                                            Unliquidated
      City                          State    ZIP Code       Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
   Debtor 1 only                            An agreement you made (such as mortgage
   Debtor 2 only                             or secured car loan)
   Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic’s lien)
   At least one of the debtors and another  Judgment lien from a lawsuit
   Check if this claim relates to a         Other (including a right to offset)
        community debt
  Date debt was incurred                                   Last 4 digits of account number
 Add the dollar value of your entries in Column A on this page. Write that number here:                       $                 0.00

Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                        page 1 of   1




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Fill in this information to identify your case:


 Debtor 1              Joel                         Junior                      MunizJr.
                       First Name                    Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing)   First Name                    Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern                                District of   Ohio
 Case number
  (If known)                                                                                                               Check if this is an amended filing.
Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Part 1:           List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
             Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
      each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
      nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
      unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total claim    Priority   Nonpriority
                                                                                                                                                 amount     amount
2.1
       Chastity Polanco                                            Last 4 digits of account number                                $       301.00 $    301.00 $          0.00
       Priority Creditor’s Name
                                                                   When was the debt incurred?
       Number             Street

                                                                   As of the date you file, the claim is: Check all that apply.

       Defiance                        OH       43512                  Contingent
       City                            State    ZIP Code               Unliquidated
       Who incurred the debt? Check one.                               Disputed
                Debtor 1 only
                Debtor 2 only
                                                                   Type of PRIORITY unsecured claim:
                Debtor 1 and Debtor 2 only                            Domestic support obligations
                At least one of the debtors and another               Taxes and certain other debts you owe the
                                                                        government
                Check if this claim is for a community debt
                                                                       Claims for death or personal injury while you
       Is the claim subject to offset?                                  were intoxicated
                No                                                    Other. Specify
                Yes
2.2
       Cecilia Lopez                                               Last 4 digits of account number                                $       236.50 $    236.50 $          0.00
       Priority Creditor’s Name
                                                                   When was the debt incurred?
       Number             Street

                                                                   As of the date you file, the claim is: Check all that apply.

       Edgerton                        OH       43517                  Contingent
       City                            State    ZIP Code               Unliquidated
       Who incurred the debt? Check one.                               Disputed
        Debtor 1 only
        Debtor 2 only                                             Type of PRIORITY unsecured claim:
        Debtor 1 and Debtor 2 only                                    Domestic support obligations
        At least one of the debtors and another                       Taxes and certain other debts you owe the
                                                                        government
                Check if this claim is for a community debt
                                                                       Claims for death or personal injury while you
       Is the claim subject to offset?                                  were intoxicated
           No                                                         Other. Specify
           Yes
Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of     6



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Debtor 1        Joel                  Junior                     Muniz Jr.                                      Case number (if known)
                First Name            Middle Name                Last Name


Part 1:         Your PRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                    Total claim     Priority     Nonpriority
                                                                                                                                          amount       amount
4.4
                                                           Last 4 digits of account number                                $               $            $        0.00
      Priority Creditor’s Name
                                                           When was the debt incurred?
      Number          Street
                                                           As of the date you file, the claim is: Check all that
                                                             apply.
                                                               Contingent
      City                         State   ZIP Code            Unliquidated

      Who incurred the debt? Check one.
                                                               Disputed
            Debtor 1 only                                 Type of PRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                               Domestic support obligations
            At least one of the debtors and another           Taxes and certain other debts you owe the
            Check if this claim is for a community debt        government
      Is the claim subject to offset?                          Claims for death or personal injury while you
            No                                                 were intoxicated
            Yes                                               Other. Specify

                                                           Last 4 digits of account number                                $               $            $        0.00
      Priority Creditor’s Name
                                                           When was the debt incurred?
      Number          Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent

      City                         State   ZIP Code
                                                               Unliquidated
                                                               Disputed
      Who incurred the debt? Check one.
            Debtor 1 only                                 Type of PRIORITY unsecured claim:
            Debtor 2 only                                     Domestic support obligations
            Debtor 1 and Debtor 2 only
            At least one of the debtors and another
                                                               Taxes and certain other debts you owe the
                                                                government
            Check if this claim is for a community debt

      Is the claim subject to offset?
                                                               Claims for death or personal injury while you
                                                                were intoxicated
            No
            Yes
                                                               Other. Specify


                                                           Last 4 digits of account number                                $               $            $        0.00
      Priority Creditor’s Name
                                                           When was the debt incurred?
      Number          Street

                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
      City                         State   ZIP Code
                                                               Disputed
      Who incurred the debt? Check one.
            Debtor 1 only
                                                           Type of PRIORITY unsecured claim:
            Debtor 2 only                                     Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                               Taxes and certain other debts you owe the
            At least one of the debtors and another
                                                                government
            Check if this claim is for a community debt
                                                               Claims for death or personal injury while you
      Is the claim subject to offset?                           were intoxicated
            No                                                Other. Specify
            Yes

Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                              page   2 of 6




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Debtor 1         Joel                 Junior                     Muniz Jr.                               Case number (if known)
                 First Name           Middle Name                Last Name


Part 2:         List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
         No. You have nothing to report in this part. Submit this form to the court with your other schedules.
         Yes
4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
   priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
   included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured
   claims fill out the Continuation Page of Part 2.
                                                                                                                                                Total claim
 4.1
       Fifth-Third Bank                                                        Last 4 digits of account number                              $                 900.00
       Nonpriority Creditor’s Name
                                                                               When was the debt incurred?
       39             Fountain Square Plaza
       Number          Street                                                  As of the date you file, the claim is: Check all that
       Cincinnati                                   OH          45263            apply.
       City                                         State       ZIP Code
                                                                                   Contingent
       Who incurred the debt? Check one.
                                                                                   Unliquidated
             Debtor 1 only                                                        Disputed
             Debtor 2 only
                                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              Student loans
                                                                                   Obligations arising out of a separation agreement
             Check if this claim is for a community debt
                                                                                    or divorce that you did not report as priority claims
       Is the claim subject to offset?                                             Debts to pension or profit-sharing plans, and other
             No                                                                    similar debts
             Yes                                                                  Other. Specify Overdrawn bank account
 4.2
                                                                               Last 4 digits of account number                              $
       Nonpriority Creditor’s Name
                                                                               When was the debt incurred?
       Number          Street
                                                                               As of the date you file, the claim is: Check all that
                                                                                 apply.
       City                                         State       ZIP Code

       Who incurred the debt? Check one.
                                                                                   Contingent
                                                                                   Unliquidated
             Debtor 1 only
                                                                                   Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                               Type of NONPRIORITY unsecured claim:

             At least one of the debtors and another                              Student loans
             Check if this claim is for a community debt
                                                                                   Obligations arising out of a separation agreement
                                                                                    or divorce that you did not report as priority claims
       Is the claim subject to offset?                                             Debts to pension or profit-sharing plans, and other
             No                                                                    similar debts
             Yes                                                                  Other. Specify
 4.3
       DFAS DE/FYDC                                                            Last 4 digits of account number                              $            1,201.00
       Nonpriority Creditor’s Name
                                                                               When was the debt incurred?        12-8-2010
       8899           East 56th St.
       Number          Street
                                                                               As of the date you file, the claim is: Check all that
       Indianapolis                                 IN          46249-3300       apply.
       City                                         State       ZIP Code

       Who incurred the debt? Check one.
                                                                                   Contingent
                                                                                   Unliquidated
             Debtor 1 only
                                                                                   Disputed
             Debtor 2 only
                                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              Student loans

             Check if this claim is for a community debt
                                                                                   Obligations arising out of a separation agreement
                                                                                   or divorce that you did not report as priority claims
       Is the claim subject to offset?                                             Debts to pension or profit-sharing plans, and other
             No                                                                   similar debts
             Yes                                                                  Other. Specify Government overpayment

Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                      page    3 of 6




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Debtor 1         Joel                Junior                    Muniz Jr.                               Case number (if known)
                 First Name          Middle Name               Last Name


Part 2:         Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim

 4.4
       Navy Federal Credit Union                                             Last 4 digits of account number
       Nonpriority Creditor’s Name
                                                                                                                                         $             8,883.00
                      PO Box 3700
       Number          Street                                                When was the debt incurred?       03-29-2010

       Merrifield                                  VA         22119-3700     As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                 Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify Auto loan

 4.5
       Navy Federal Credit Union                                             Last 4 digits of account number
       Nonpriority Creditor’s Name
                                                                                                                                         $             7,139.00
                      PO Box 3700
       Number          Street                                                When was the debt incurred?       03-14-2008

       Merrifield                                  VA         22119-3700     As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                 Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify credit card

 4.6
       USAA Savings Bank                                                     Last 4 digits of account number
       Nonpriority Creditor’s Name
                                                                                                                                         $             2,015.00
       10750          McDermott FWY
       Number          Street                                                When was the debt incurred?       10-24-2009

       San Antonio                                 TX         78288-1600     As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt                        Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify credit card


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                    page   4 of 6




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Debtor 1         Joel                Junior                    Muniz Jr.                               Case number (if known)
                 First Name          Middle Name               Last Name


Part 2:         Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim

 4.7
       Credit Collection Service                                             Last 4 digits of account number
       Nonpriority Creditor’s Name
                                                                                                                                         $             161.00
                      PO Box 607
       Number          Street                                                When was the debt incurred?       03-24-2012

       Norwood                                     MA         02062          As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt
                                                                                 Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify Insurance

 4.8
       Nonpriority Creditor’s Name                                           Last 4 digits of account number
                                                                                                                                         $

       Number          Street                                                When was the debt incurred?

                                                                             As of the date you file, the claim is: Check all that
       City                                        State      ZIP Code
                                                                               apply.

       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt                        Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify


       Nonpriority Creditor’s Name                                           Last 4 digits of account number
                                                                                                                                         $

       Number          Street                                                When was the debt incurred?


       City                                        State      ZIP Code       As of the date you file, the claim is: Check all that
                                                                               apply.
       Who incurred the debt? Check one.                                         Contingent
        Debtor 1 only                                                           Unliquidated
        Debtor 2 only                                                           Disputed
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another                             Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community debt                        Student loans
                                                                                 Obligations arising out of a separation agreement or
       Is the claim subject to offset?                                            divorce that you did not report as priority claims
        No                                                                      Debts to pension or profit-sharing plans, and other
        Yes                                                                      similar debts
                                                                                 Other. Specify


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                    page   5 of 6




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Debtor 1       Joel                 Junior                  Muniz Jr.                              Case number (if known)
               First Name           Middle Name             Last Name


Part 4:     Add the Amounts for Each Type of Unsecured Claim


1. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
   Add the amounts for each type of unsecured claim.




                                                                                     Total claim


                   6a. Domestic support obligations                            6a.
Total claims                                                                          $                     537.50
from Part 1
                   6b. Taxes and certain other debts you owe the
                       government                                              6b.    $                        0.00

                   6c. Claims for death or personal injury while you
                       were intoxicated                                        6c.
                                                                                      $                        0.00

                   6d. Other. Add all other priority unsecured claims.
                       Write that amount here.                                 6d.
                                                                                     +$                        0.00


                   6e. Total. Add lines 6a through 6d.                         6e.
                                                                                      $                     537.50



                                                                                     Total claim

                   6f. Student loans                                           6f.
Total claims                                                                          $                        0.00
from Part 2
                   6g. Obligations arising out of a separation agreement
                       or divorce that you did not report as priority
                       claims                                                  6g.    $                        0.00
                   6h. Debts to pension or profit-sharing plans, and
                       other similar debts                                     6h.    $                        0.00

                   6i. Other. Add all other nonpriority unsecured claims.
                       Write that amount here.                                 6i.   +$                  20,299.00


                   6j. Total. Add lines 6f through 6i.                         6j.
                                                                                      $                  20,299.00




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                page   6 of 6



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Fill in this information to identify your case:


  Debtor 1              Joel                   Junior                   MunizJr.
                        First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)   First Name              Middle Name              Last Name


  United States Bankruptcy Court for the: Northern                      District of   Ohio
  Case number
   (If known)
                                                                                                                 Check if this is an amended filing.

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
   example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
   unexpired leases.

      Person or company with whom you have the contract or lease                                    State what the contract or lease is for

2.1
         Name


         Number             Street


         City                              State      ZIP Code

2.2
         Name


         Number             Street


         City                              State      ZIP Code

2.3
         Name


         Number             Street


         City                              State      ZIP Code

2.4
         Name


         Number             Street


         City                              State      ZIP Code

2.5
         Name


         Number             Street


         City                              State      ZIP Code


Official Form 106G                                     Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of   1




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Fill in this information to identify your case:


 Debtor 1               Joel                        Junior                       MunizJr.
                        First Name                   Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing)    First Name                   Middle Name                 Last Name


 United States Bankruptcy Court for the: Northern                                District of   Ohio
 Case number
  (If known)
                                                                                                                             Check if this is an amended filing.

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                          12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
               No
               Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
               No. Go to line 3.
               Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                      No
                      Yes. In which community state or territory did you live?                . Fill in the name and current address of that person.


                       Name of your spouse, former spouse, or legal equivalent


                       Number          Street


                       City                                State    ZIP Code
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.
            Column 1: Your codebtor                                                                                       Column 2: The creditor to whom you owe the debt
                                                                                                                          Check all schedules that apply:
3.1

          Name
                                                                                                                               Schedule D, line
                                                                                                                               Schedule E/F, line
          Number              Street                                                                                           Schedule G, line

          City                                    State      ZIP Code
3.2

          Name
                                                                                                                               Schedule D, line
                                                                                                                               Schedule E/F, line
          Number              Street                                                                                           Schedule G, line

          City                                    State      ZIP Code
3.3

          Name
                                                                                                                               Schedule D, line
                                                                                                                               Schedule E/F, line
          Number              Street                                                                                           Schedule G, line

          City                                    State      ZIP Code

Official Form 106H                                                        Schedule H: Your Codebtors                                                         page 1 of   1




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Fill in this information to identify your case:


 Debtor 1              Joel                   Junior                MunizJr.
                       First Name             Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: Northern                   District of   Ohio
 Case number
     (If known)                                                                                                        Check if this is:
                                                                                                                              An amended filing

                                                                                                                              A supplement showing post-petition chapter 13
                                                                                                                               income as of the following date:

Official Form 106I                                                                                                             MM / DD / YYYY


Schedule I: Your Income                                                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:
                   Describe Employment

                                                                         Debtor 1                                                      Debtor 2 or non-filing spouse
     If you have more than one
     job, attach a separate page
                                     Employment status
                                                                           Employed                                                      Employed
     with information about
     additional employers.                                                 Not employed                                                  Not employed

     Include part-time, seasonal,
     or self-employed work.
                                     Occupation                     Plasma Cutter
     Occupation may Include
     student or homemaker, if it
     applies                         Employer’s name                Defiance Metal Products
                                     Employer’s address
                                                                    Number         Street                                         Number       Street

                                                                    21 Seneca St.


                                                                    Defiance, OH 43512
                                                                    City                         State      ZIP Code              City                     State   ZIP Code

                                     How long employed there?       4 years



Part 2:            Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you
     need more space, attach a separate sheet to this form.
                                                                                                                                      For Debtor 2 or
                                                                                                         For Debtor 1
                                                                                                                                      non-filing spouse
2.      List monthly gross wages, salary, and commissions (before all
        payroll deductions). If not paid monthly, calculate what the monthly wage
        would be.                                                                           2.    $            2,436.00           $                     0.00

3.      Estimate and list monthly overtime pay.                                             3. + $                 0.00       + $                       0.00


4.      Calculate gross income. Add line 2 + line 3.                                        4.    $            2,436.00           $                     0.00




Official Form 106I                                                Schedule I: Your Income                                                                                 page 1




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Debtor 1         Joel             Junior                    Muniz Jr.                                      Case number (if known)
                 First Name       Middle Name               Last Name



                                                                                                                    For Debtor 2 or
                                                                                            For Debtor 1
                                                                                                                    non-filing spouse

     Copy line 4 here                                                                 4.    $       2,436.00         $              0.00

5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                5a.    $          670.80        $              0.00
     5b. Mandatory contributions for retirement plans                                 5b.    $              0.00      $              0.00
     5c. Voluntary contributions for retirement plans                                 5c.    $              0.00      $              0.00
     5d. Required repayments of retirement fund loans                                 5d.    $              0.00      $              0.00
     5e. Insurance                                                                    5e.    $              0.00      $              0.00
     5f.    Domestic support obligations                                              5f.    $              0.00      $              0.00
     5g. Union dues                                                                   5g.    $              0.00      $              0.00
     5h. Other deductions. Specify: ..                                                5h. +$                0.00    +$               0.00
6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h         6.    $          670.80        $              0.00

7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.               7.    $       1,765.20         $              0.00

8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                       8a.    $              0.00      $              0.00
     8b. Interest and dividends                                                       8b.    $              0.00      $              0.00
     8c. Family support payments that you, a non-filing spouse, or a
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.                              8c.    $              0.00      $              0.00
     8d. Unemployment compensation                                                    8d.    $              0.00      $              0.00
     8e. Social Security                                                              8e.    $              0.00      $              0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if know) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                  8f.    $              0.00      $              0.00
     8g. Pension or retirement income                                                 8g.    $              0.00      $              0.00
     8h. Other monthly income. Specify: ..                                            8h. +$                0.00    +$               0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e +8f +8g +8h                9.    $              0.00      $              0.00

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.        10.    $       1,765.20         $              0.00 = $       1,765.20

11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify:                                                                                                                         11. + $           0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data. If it applies.    12.   $       1,765.20
                                                                                                                                            Combined
                                                                                                                                            monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:


Official Form 106I                                                Schedule I: Your Income                                                             page 2




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Fill in this information to identify your case:


 Debtor 1              Joel                   Junior                    MunizJr.
                       First Name             Middle Name               Last Name
                                                                                                                     Check if this is:
 Debtor 2
 (Spouse, if filing)   First Name             Middle Name               Last Name                                           An amended filing

 United States Bankruptcy Court for the: Northern                       District of   Ohio
                                                                                                                            A supplement showing post-petition chapter 13
                                                                                                                             income as of the following date:
 Case number
     (If known)                                                                                                                MM / DD / YYYY
                                                                                                                            A separate filing for Debtor 2 because
                                                                                                                             Debtor 2 maintains a separate household


Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.
Part 1:            Describe Your Household

1. Is this a joint case?
     No. Go to line 2.
     Yes. Does Debtor 2 live in a separate household?
            No.
            Yes. Debtor 2 must file a separate Schedule J.
2. Do you have dependents                    No
       Do not list Debtor 1 and              Yes. Fill out this information for
                                                                                             Dependent’s relationship to
                                                                                             Debtor 1 or Debtor 2
                                                                                                                                         Dependent’s
                                                                                                                                         age
                                                                                                                                                       Does dependent live
                                                                                                                                                       with you?
       Debtor 2.                               each dependent
                                                                                                                                                           No
       Do not state the dependent’s
       names.                                                                                son                                         18                Yes
                                                                                                                                                           No
                                                                                                                                                           Yes
                                                                                                                                                           No
                                                                                                                                                           Yes
                                                                                                                                                           No
                                                                                                                                                           Yes
                                                                                                                                                           No
                                                                                                                                                           Yes

3. Do your expenses include                  No
   expenses of people other
   than yourself and your                    Yes.
   dependents?

Part 2:            Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                                           Your Expenses

4.      The rental or home ownership expenses for your residence. Include first mortgage
        payments and any rent for the ground or lot.                                                                            4. $                             0.00
        If not included on line 4:
        4a. Real estate taxes                                                                                                 4a. $                             85.00

        4b. Property, homeowner’s, or renter’s insurance                                                                      4b. $                          105.00

        4c. Home maintenance, repair, and upkeep expenses                                                                     4c. $                          100.00

        4d. Homeowner’s association or condominium dues                                                                       4d. $                              0.00

Official Form 106J                                                  Schedule J: Your Expenses                                                                           page 1




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Debtor 1        Joel                Junior                  Muniz Jr.                       Case number (if known)
                First Name          Middle Name             Last Name


                                                                                                                     Your Expenses

5.     Additional mortgage payments for your residence, such as home equity loans.                    5. $                            0.00
6.     Utilities:

     6a. Electricity, heat, natural gas                                                              6a. $                       250.00

     6b. Water, sewer, garbage collection                                                            6b. $                       120.00

     6c. Telephone, cell phone, Internet, satellite, and cable services                              6c. $                       120.00

     6d. Other. Specify:                                                                             6d. $                            0.00

7.     Food and housekeeping supplies                                                                 7. $                       400.00

8.     Childcare and children’s educational costs                                                     8. $                            0.00

9.     Clothing, laundry, and dry cleaning                                                            9. $                           20.00

10. Personal care products and services                                                              10. $                           20.00

11. Medical and dental expenses                                                                      11. $                           25.00
12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                     12. $                       250.00

13. Entertainment, clubs recreation, newspapers, magazines, and books                                13. $                            0.00

14. Charitable contributions and religious donations                                                 14. $                            0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                          15a. $                            0.00

       15b. Health insurance                                                                        15b. $                            0.00

       15c. Vehicle insurance                                                                       15c. $                           70.00

       15d. Other insurance. Specify:                                                               15d. $                            0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16. $                            0.00
17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                              17a. $                            0.00

       17b. Car payments for Vehicle 2                                                              17b. $                            0.00
       17c. Other. Specify:                                                                         17c. $                            0.00

       17d. Other. Specify:                                                                         17d. $                            0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted
    from you pay on line 5, Schedule I, Your Income (Official Form B 6I).                            18. $                            0.00
19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19. $                            0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income:

       20a. Mortgages on other property                                                             20a. $                            0.00

       20b. Real estate taxes                                                                       20b. $                            0.00

       20c. Property, homeowner’s, or renter’s insurance                                            20c. $                            0.00

       20d. Maintenance, repair, and upkeep expenses                                                20d. $                            0.00
       20e. Homeowner’s association or condominium dues                                             20e. $                            0.00




Official Form 106J                                              Schedule J: Your Expenses                                                    page 2




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Debtor 1     Joel                    Junior              Muniz Jr.                               Case number (if known)
             First Name              Middle Name         Last Name



21. Other. Specify:                                                                                         21. $                    0.00

22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                $                 1,565.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                       $                     0.00
    22c. Add lines 22a and 22b. The result is your monthly expenses.                                        22. $                 1,565.00

23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                    23a. $                 1,765.20
      23b. Copy your monthly expenses from line 22 above.                                                  23b. -$                1,565.00
      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                          23c. $                  200.20


24. Do you expect an increase or decrease in your expenses within the year after you file this form?:

     For example, do you expect to finish paying for your car loan within the year or do you expect your
     mortgage payment to increase or decrease because of a modification in the terms of your mortgage?

          No.
          Yes.      Explain here:




Official Form 106J                                           Schedule J: Your Expenses                                                       page 3



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Fill in this information to identify your case:


 Debtor 1                Joel                         Junior                         MunizJr.
                         First Name                   Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)     First Name                   Middle Name                    Last Name


 United States Bankruptcy Court for the: Northern                                    District of   Ohio
 Case number
  (If known)
                                                                                                                                        Check if this is an amended filing.


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:               Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
 1. Schedule A/B: Property (Official Form 106A/B)
      1a. Copy line 55, Total real estate, from Schedule A/B........................................................................................................    $          27,470.00

      1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................        $          13,520.00

      1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                        $          40,990.00

 Part 2:               Summarize Your Liabilities


                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
      2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $              0.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
      3a. Copy           the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F .........................................                    $          537.50

      3b. Copy          the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................
                                                                                                                                                                        +$         20,299.00

                                                                                                                                  Your total liabilities                    $      20,836.50


 Part 3:               Summarize Your Income and Expenses


 4. Schedule I: Your Income (Official Form 106I)
      Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $       1,765.20

 5. Schedule J: Your Expenses (Official Form 106J)
      Copy your monthly expenses from line 22, Column A, of Schedule J .................................................................................                    $       1,565.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                                                               page 1 of 2




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Debtor 1       Joel                Junior                   Muniz Jr.                                  Case number (if known)
               First Name          Middle Name              Last Name


 Part 4:       Answer These Questions for Administrative and Statistical Records

 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes



 7. What kind of debt do you have?

            Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and
           submit this form to the court with your other schedules.



 8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                            $         2,436.00




 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                        Total claim


      From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                     $              537.50


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                            $                 0.00

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                  $                 0.00


    9d. Student loans. (Copy line 6f.)                                                                   $                 0.00

    9e. Obligations arising out of a separation agreement or divorce that you did not report as          $                 0.00
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                   0.00


    9g. Total. Add lines 9a through 9f.                                                                  $              537.50




 Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                    page 2 of 2




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Fill in this information to identify your case:


 Debtor 1               Joel                  Junior                     MunizJr.
                        First Name            Middle Name                Last Name

 Debtor 2
 (Spouse, if filing)    First Name            Middle Name                Last Name


 United States Bankruptcy Court for the: Northern                        District of   Ohio
 Case number
  (If known)
                                                                                                                                                     Check if this is an
                                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor’s Schedules                                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            No
            Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature
                                                                                                 (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that
   they are true and correct.




 /S/ Joel Junior Muniz Jr.                                                
      Signature of Debtor 1                                              Signature of Debtor 2


      Date       03/20/2019                                              Date
               MM / DD / YYYY                                                   MM / DD / YYYY




   Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules                                                        page 1




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Fill in this information to identify your case:


 Debtor 1               Joel                  Junior                     MunizJr.
                        First Name             Middle Name               Last Name

 Debtor 2
 (Spouse, if filing)    First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: Northern                        District of   Ohio
 Case number
  (If known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                   04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.



 Part 1:               Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

                 Married
                 Not married



 2. During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1:                                             Dates Debtor 1              Debtor 2:                                  Dates Debtor 2
                                                                  lived there                                                            lived there


                                                                                                  Same as Debtor 1                         Same as Debtor 1

                                                                  From                                                                  From
             Number            Street                                                             Number Street
                                                                  To                                                                    To



             City                         State ZIP Code                                          City                State ZIP Code


                                                                                                  Same as Debtor 1                         Same as Debtor 1

                                                                  From                                                                  From
             Number            Street                                                             Number Street
                                                                  To                                                                    To



             City                         State ZIP Code                                          City                State ZIP Code

 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




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Debtor 1       Joel                    Junior                    Muniz Jr.                                     Case number (if known)
               First Name              Middle Name               Last Name


 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time
    activities. If you are filing a joint case and you have income that you receive together, list it only once
    under Debtor 1.

          No
         Yes. Fill in the details.

                                                            Debtor 1                                               Debtor 2

                                                            Sources of income         Gross income                 Sources of income              Gross income
                                                            Check all that apply.     (before deductions and       Check all that apply.          (before deductions and
                                                                                      exclusions)                                                 exclusions)

           From January 1 of current year                   Wages,                                                 Wages,
           until the date you filed for                       commissions,                                             commissions,
           bankruptcy:                                        bonuses, tips           $           7,200.00             bonuses, tips          $
                                                            Operating a                                            Operating a
                                                              business                                                 business



           For last calendar year:                          Wages,                                                 Wages,
                                                              commissions,                                             commissions,
           (January 1 to December 31, 2018             )      bonuses, tips           $          30,000.00             bonuses, tips          $
                                                            Operating a                                            Operating a
                                            YYYY

                                                              business                                                 business



           For the calendar year before that:               Wages,                                                 Wages,
                                                              commissions,                                             commissions,
           (January 1 to December 31, 2017             )      bonuses, tips           $          28,210.00             bonuses, tips          $
                                                            Operating a                                            Operating a
                                            YYYY

                                                              business                                                 business

 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
    gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.
     List each source and the gross income from each source separately. Do not include income that you listed in line 4.
          No
          Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income         Gross income from            Sources of income           Gross income from
                                                            Describe below.           each source                  Describe below.             each source
                                                                                      (before deductions and                                   (before deductions and
                                                                                      exclusions)                                              exclusions)

                                                                                      $                                                        $
           From January 1 of current year
           until the date you filed for                                               $                                                        $
           bankruptcy:
                                                                                      $                                                        $

                                                                                      $                                                        $
           For last calendar year:
                                                                                      $                                                        $
           (January 1 to December 31,                  )
                                            YYYY
                                                                                      $                                                        $

                                                                                      $                                                        $
           For the calendar year before that:
                                                                                      $                                                        $
           (January 1 to December 31,                  )
                                            YYYY
                                                                                      $                                                        $



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Debtor 1       Joel                    Junior                  Muniz Jr.                                  Case number (if known)
               First Name              Middle Name             Last Name




 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy


 1. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
              “incurred by an individual primarily for a personal, family, or household purpose.”
           During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               No. Go to line 7.
               Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and
                            the total amount you paid that creditor. Do not include payments for domestic support obligations,
                            such as child support and alimony. Also, do not include payments to an attorney for this bankruptcy
                            case.
           * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

   Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
           During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               No. Go to line 7.
               Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid
                            that creditor. Do not include payments for domestic support obligations, such as child support and
                            alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                   Dates of           Total amount paid       Amount you still owe     Was this payment for…
                                                                   payment



            Creditor’s Name
                                                                                     $                       $                           Mortgage
                                                                                                                                         Car

            Number    Street                                                                                                             Credit card
                                                                                                                                         Loan repayment
                                                                                                                                         Suppliers or vendors

            City                    State        ZIP Code
                                                                                                                                         Other



                                                                                     $                       $                           Mortgage
                                                                                                                                         Car
            Creditor’s Name
                                                                                                                                         Credit card

            Number    Street
                                                                                                                                         Loan repayment
                                                                                                                                         Suppliers or vendors

                                                                                                                                         Other

            City                    State        ZIP Code


                                                                                     $                       $                           Mortgage
                                                                                                                                         Car
            Creditor’s Name
                                                                                                                                         Credit card

            Number    Street
                                                                                                                                         Loan repayment
                                                                                                                                         Suppliers or vendors

                                                                                                                                         Other

            City                    State        ZIP Code




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                   First Name       Middle Name                Last Name



 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any
    managing agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic
    support obligations, such as child support and alimony.

          No
          Yes. List all payments to an insider.
                                                                      Dates of     Total amount       Amount you         Reason for this payment
                                                                      payment      paid               still owe


                                                                                   $                  $
            Insider’s Name



            Number        Street




            City                          State    ZIP Code



                                                                                   $                  $
            Insider’s Name



            Number        Street




            City                          State    ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
    benefited an insider?
    Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.
                                                                     Dates of          Total amount   Amount you         Reason for this payment
                                                                     payment           paid           still owe
                                                                                                                         Include creditor’s name


                                                                                   $                  $
            Insider’s Name



            Number        Street




            City                          State    ZIP Code




                                                                                   $                  $
            Insider’s Name



            Number        Street




            City                          State    ZIP Code




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Debtor 1        Joel                   Junior                    Muniz Jr.                                      Case number (if known)
                First Name             Middle Name               Last Name


 Part 4:       Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
    modifications, and contract disputes.

          No
          Yes. Fill in the details.

                                                            Nature of the case                     Court or agency                                   Status of the case



           Case title                                                                              Court Name
                                                                                                                                                           Pending
                                                                                                                                                           On appeal
                                                                                                   Number   Street                                         Concluded

           Case number
                                                                                                   City                        State     ZIP Code




           Case title                                                                              Court Name
                                                                                                                                                           Pending
                                                                                                                                                           On appeal
                                                                                                   Number   Street                                         Concluded

           Case number
                                                                                                   City                        State     ZIP Code



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

          No.     Go to line 11.
          Yes.    Fill in the information below.

                                                                      Describe the property                                      Date               Value of the property



                                                                                                                                                    $
                  Creditor’s Name



                  Number     Street                                   Explain what happened

                                                                            Property was repossessed.
                                                                            Property was foreclosed.
                                                                            Property was garnished.
                  City                        State   ZIP Code              Property was attached, seized, or levied.

                                                                      Describe the property                                      Date               Value of the property



                                                                                                                                                    $
                  Creditor’s Name



                  Number     Street
                                                                      Explain what happened

                                                                            Property was repossessed.
                                                                            Property was foreclosed.
                  City                        State   ZIP Code              Property was garnished.
                                                                            Property was attached, seized, or levied.




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                    First Name          Middle Name                Last Name



11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from
    your accounts or refuse to make a payment because you owed a debt?
          No
          Yes. Fill in the details.

                                                               Describe the action the creditor took                       Date action was   Amount
                                                                                                                           taken
             Creditor’s Name


                                                                                                                                             $
             Number        Street




             City                           State   ZIP Code   Last 4 digits of account number: XXXX–


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?
          No
          Yes

Part 5:          List Certain Gifts and Contributions


13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
          No
          Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600        Describe the gifts                                          Dates you gave    Value
             per person                                                                                                    the gifts



                                                                                                                                             $
             Person to Whom You Gave the Gift

                                                                                                                                             $


             Number        Street



             City                           State   ZIP Code


             Person’s relationship to you


             Gifts with a total value of more than $600        Describe the gifts                                          Dates you gave    Value
             per person                                                                                                    the gifts



                                                                                                                                             $
             Person to Whom You Gave the Gift

                                                                                                                                             $


             Number        Street



             City                           State   ZIP Code


             Person’s relationship to you




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                    First Name            Middle Name               Last Name




14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any
    charity?

          No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities               Describe what you contributed                                         Date you       Value
             that total more than $600                                                                                               contributed



                                                                                                                                                     $
             Charity’s Name

                                                                                                                                                     $



             Number        Street




             City                          State    ZIP Code




Part 6:              List Certain Losses


15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

          No
          Yes. Fill in the details.

             Describe the property you lost and how             Describe any insurance coverage for the loss                         Date of your   Value of property
             the loss occurred                                                                                                       loss           lost
                                                                Include the amount that insurance has paid. List pending insurance
                                                                claims on line 33 of Schedule A/B: Property.



                                                                                                                                                     $


Part 7:         List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
    you consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
          Yes. Fill in the details.

                                                                Description and value of any property transferred                    Date payment or Amount of
                                                                                                                                     transfer was    payment
             Jeffrey J. Horvath                                                                                                      made
             Person Who Was Paid

             306           Clinton St.                          Payment for bankruptcy petition preparation
             Number        Street                                                                                                    12/18/18        $       1,150.00

                                                                                                                                                     $

             Defiance                    OH        43512
             City                        State     ZIP Code


             jeff@horvathlawoffice.com
             Email or website address


             Person Who Made the Payment, if Not You



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                    First Name             Middle Name               Last Name


                                                                 Description and value of any property transferred             Date payment or   Amount of payment
                                                                                                                               transfer was made
             Person Who Was Paid



             Number        Street
                                                                                                                                                 $

                                                                                                                                                 $

             City                         State    ZIP Code



             Email or website address



             Person Who Made the Payment, if Not You


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised
   to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.

          No
          Yes. Fill in the details.
                                                               Description and value of any property transferred               Date payment or   Amount of payment
                                                                                                                               transfer was made
           Person Who Was Paid


           Number       Street                                                                                                                   $

                                                                                                                                                 $


           City                         State     ZIP Code


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
   transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your
   property). Do not include gifts and transfers that you have already listed on this statement.
          No
          Yes. Fill in the details.
                                                               Description and value of property          Describe any property or payments received   Date transfer
                                                               transferred                                or debts paid in exchange                    was made
           Person Who Received Transfer



           Number       Street




           City                         State     ZIP Code



           Person’s relationship to you



           Person Who Received Transfer



           Number       Street




           City                         State     ZIP Code


           Person’s relationship to you


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                   First Name              Middle Name                 Last Name


    19.     Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
            beneficiary? (These are often called asset-protection devices.)

          No
          Yes. Fill in the details.

                                                                Description and value of the property transferred                                        Date transfer
                                                                                                                                                         was made



           Name of trust




Part 8:           List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
   benefit, closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
          No
          Yes. Fill in the details.

                                                                 Last 4 digits of account         Type of account or          Date account was       Last balance before
                                                                 number                           instrument                  closed, sold, moved,   closing or transfer
                                                                                                                              or transferred


           Name of Financial Institution
                                                                XXXX–                                Checking                                       $

           Number     Street
                                                                                                     Savings
                                                                                                     Money market
                                                                                                     Brokerage
           City                       State    ZIP Code                                              Other

                                                                 Last 4 digits of account         Type of account or          Date account was       Last balance before
                                                                 number                           instrument                  closed, sold, moved,   closing or transfer
                                                                                                                              or transferred


           Name of Financial Institution
                                                                XXXX–                                Checking                                       $

           Number     Street
                                                                                                     Savings
                                                                                                     Money market
                                                                                                     Brokerage
           City                       State    ZIP Code                                              Other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
     No
     Yes. Fill in the details.
                                                                Who else had access to it?                          Describe the contents                     Do you still
                                                                                                                                                              have it?

                                                                                                                                                                 No
           Name of Financial Institution                        Name
                                                                                                                                                                 Yes

                                                                                                                                                              
           Number     Street                                    Number    Street


                                                                City                   State   ZIP Code
           City                       State    ZIP Code




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Debtor 1          Joel                    Junior                         Muniz Jr.                               Case number (if known)
                  First Name              Middle Name                    Last Name


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    No
    Yes. Fill in the details.
                                                                  Who else has or had access to it?           Describe the contents                     Do you
                                                                                                                                                        still have
                                                                                                                                                        it?

                                                                                                                                                           No
                                                                                                                                                       
           Name of Storage Facility
                                                                  Name                                                                                      Yes

           Number    Street
                                                                                                                                                       
                                                                  Number     Street


                                                                  City                    State    ZIP Code
           City                       State    ZIP Code



Part 9:             Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing
    for, or hold in trust for someone.
     No
     Yes. Fill in the details.
                                                                Where is the property?                        Describe the property               Value



                                                                                                                                                  $
           Owner’s Name                                         Number     Street


           Number    Street


                                                                City                     State    ZIP Code

           City                       State    ZIP Code


Part 10:            Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.
Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

          No
          Yes. Fill in the details.
                                                                                                                                                      Date of
                                                                Governmental unit                             Environmental law, if you know it
                                                                                                                                                      notice



           Name of Site
                                                                Governmental unit


           Number    Street
                                                                Number     Street



                                                                City                     State    ZIP Code
           City                       State    ZIP Code




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                   First Name          Middle Name                Last Name


25. Have you notified any governmental unit of any release of hazardous material?
          No
          Yes. Fill in the details.

                                                           Governmental unit                         Environmental law, if you know it       Date of notice



           Name of Site                                    Governmental unit


           Number       Street                             Number     Street


                                                           City                  State   ZIP Code

           City                    State    ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
          No
          Yes. Fill in the details.

                                                                                                                                             Status of the
                                                          Court or agency                            Nature of the case
                                                                                                                                             case

           Case title
                                                          Court name                                                                             Pending
                                                                                                                                                 On appeal
                                                          Number     Street                                                                      Concluded
                                                                                                                                             
           Case number                                    City                   State   ZIP Code



Part 11:             Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.

                                                           Describe the nature of the business             Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.
           Business Name
                                                                                                           EIN:        –
           Number       Street
                                                           Name of accountant or bookkeeper                Dates business existed

                                                                                                           From                   To
           City                    State    ZIP Code

                                                           Describe the nature of the business             Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.
           Business Name
                                                                                                           EIN:        –
           Number       Street
                                                           Name of accountant or bookkeeper                Dates business existed

                                                                                                           From                   To
           City                    State    ZIP Code




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                   First Name         Middle Name              Last Name


                                                           Describe the nature of the business                Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.
           Business Name
                                                                                                              EIN:       –
           Number       Street
                                                           Name of accountant or bookkeeper                   Dates business existed

                                                                                                              From                  To
           City                   State    ZIP Code




28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.

                                                            Date issued

           Name


                                                            MM / DD / YYYY
           Number       Street




           City                   State     ZIP Code




Part 12:            Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by
       fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.



        /S/ Joel Junior Muniz Jr.                                         
              Signature of Debtor 1                                          Signature of Debtor 2


              Date 03/20/2019                                                Date

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

                 No
                 Yes


    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
           Yes. Name of person                                                     .   Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                        Signature (Official Form 119).




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 12



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Fill in this information to identify your case:


 Debtor 1              Joel                   Junior                  MunizJr.
                       First Name             Middle Name             Last Name

 Debtor 2
 (Spouse, if filing)   First Name             Middle Name             Last Name


 United States Bankruptcy Court for the: Northern                     District of   Ohio
 Case number
  (If known)
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing

Official Form 108
Statement of Intentions for Individuals Filing Under Chapter 7                                                                                                12/15
If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Part 1:            List Your Creditors Who Hold Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
   information below.

      Identify the creditor and the property that is collateral                       What do you intend to do with the property that       Did you claim the
                                                                                      secures a debt?                                       property as exempt on
                                                                                                                                            Schedule C?

    Creditor’s name:                                                                      Surrender the property.                              No
    Description of                                                                        Retain the property and redeem it.
                                                                                                                                                Yes
    property securing                                                                     Retain the property and enter into a
    debt:
                                                                                           Reaffirmation Agreement.
                                                                                          Retain the property and [explain]:


    Creditor’s name:                                                                      Surrender the property.                              No
    Description of                                                                        Retain the property and redeem it.
                                                                                                                                                Yes
    property securing                                                                     Retain the property and enter into a
    debt:
                                                                                           Reaffirmation Agreement.
                                                                                          Retain the property and [explain]:


    Creditor’s name:                                                                      Surrender the property.                              No
    Description of                                                                        Retain the property and redeem it.
                                                                                                                                                Yes
    property securing                                                                     Retain the property and enter into a
    debt:
                                                                                           Reaffirmation Agreement.
                                                                                          Retain the property and [explain]:


    Creditor’s name:                                                                      Surrender the property.                              No
    Description of                                                                        Retain the property and redeem it.
                                                                                                                                                Yes
    property securing                                                                     Retain the property and enter into a
    debt:
                                                                                           Reaffirmation Agreement.
                                                                                          Retain the property and [explain]:


Official Form 108                                 Statement of Intentions for Individuals Filing Under Chapter 7                                              page 1




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Debtor 1        Joel              Junior                 Muniz Jr.                               Case number (if known)
                First Name        Middle Name            Last Name


Part 2:          List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

          Describe your unexpired personal property leases                                                            Will the lease be assumed?

       Lessor’s name:                                                                                                    No
                                                                                                                         Yes
       Description of
       leased property:


       Lessor’s name:                                                                                                    No
                                                                                                                         Yes
       Description of
       leased property:


       Lessor’s name:                                                                                                    No
                                                                                                                         Yes
       Description of
       leased property:


       Lessor’s name:                                                                                                    No
                                                                                                                         Yes
       Description of
       leased property:


       Lessor’s name:                                                                                                    No
                                                                                                                         Yes
       Description of
       leased property:


       Lessor’s name:                                                                                                    No
                                                                                                                         Yes
       Description of
       leased property:


       Lessor’s name:                                                                                                    No
                                                                                                                         Yes
       Description of
       leased property:




Part 3:          Sign Below



  Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
  personal property that is subject to an unexpired lease.



 /S/ Joel Junior Muniz Jr.                                  
   Signature of Debtor 1                                         Signature of Debtor 2


   Date 03/20/2019                                               Date
           MM / DD / YYYY                                               MM / DD / YYYY



Official Form 108                               Statement of Intentions for Individuals Filing Under Chapter 7                                page 2




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                                                                                                                       Check one box only as directed in this form and in
Fill in this information to identify your case:
                                                                                                                       Form 122A-1Supp:

Debtor 1          Joel                         Junior               MunizJr.                                              1. There is no presumption of abuse.       
                   First Name                  Middle Name          Last Name
                                                                                                                       
Debtor 2
(Spouse, if filing) First Name                 Middle Name          Last Name
                                                                                                                          2. The calculation to determine if a presumption
                                                                                                                              of abuse applies will be made under Chapter 7
United States Bankruptcy Court for the: Northern                       District of Ohio                                       Means Test Calculation (Official Form
                                                                                (State)                                       122A–2). 
Case number
                                                                                                                       
                                 (If known)                                                                               3. The Means Test does not apply now because of
                                                                                                                              qualified military service but it could apply later.
                                                                                                                           Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages,
write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily
consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under 707(b)(2)
(Official Form 122A-1Supp) with this form.

Part 1:           Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.

                Not married. Fill out Column A, lines 2-11.
                Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                Married and your spouse is NOT filing with you. You and your spouse are:
                          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                           under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                           spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.
11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your
monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income
amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If you have
nothing to report for any line, write $0 in the space.
                                                                                                                         Column A                   Column B
                                                                                                                                                 Debtor 2 or
                                                                                                                         Debtor 1
                                                                                                                                               non-filing spouse
2. Your gross wages, salary, tips, bonuses, overtime, and commissions
   (before all payroll deductions).                                                                                $          2,436.00     $                   0.00
3. Alimony and maintenance payments. Do not include payments from a
   spouse if Column B is filled in.                                                                                $                0.00   $                   0.00
4. All amounts from any source which are regularly paid for household
   expenses of you or your dependents, including child support. Include
   regular contributions from an unmarried partner, members of your household,
   your dependents, parents, and roommates. Include regular contributions from a
   spouse only if Column B is not filled in. Do not include payments you listed on
   line 3.                                                                                                                          0.00                       0.00
5. Net income from operating a business, profession, or farm
                                                                       Debtor 1           Debtor 2
    Gross receipts (before all deductions)              $                         0.00 $             0.00
    Ordinary and necessary operating expenses         - $                         0.00 $             0.00
    Net monthly income from a business, profession, or                                                      Copy
    farm                                                $                         0.00 $             0.00 here                     0.00                       0.00
6. Net income from rental and other real property
                                                                       Debtor 1           Debtor 2
    Gross receipts (before all deductions)                              $         0.00 $             0.00
    Ordinary and necessary operating expenses                      -    $         0.00 $             0.00
    Net monthly income from rental and other real                                                           Copy
    property                                                            $         0.00 $             0.00 here                     0.00                       0.00
7. Interest, dividends, and royalties                                                                              $                0.00   $                   0.00

Official Form 122A-1                                           Chapter 7 Statement of Your Current Monthly Income                                                           page 1




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Debtor 1        Joel                     Junior                       Muniz Jr.                                           Case number (if known)
                First Name               Middle Name                  Last Name

                                                                                                                 Column A                  Column B
                                                                                                                                           Debtor 2 or
                                                                                                                 Debtor 1                non-filing spouse

8. Unemployment compensation                                                                              $                0.00      $               0.00
   Do not enter the amount if you contend that the amount received was a benefit
   under the Social Security Act. Instead, list it here: ........................... 
   For you ................................................................ $          0.00
   For your spouse ...................................................      $          0.00

9. Pension or retirement income. Do not include any amount received that was
   a benefit under the Social Security Act.                                                               $                0.00      $               0.00

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act or
    payments received as a victim of a war crime, a crime against humanity, or
    international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total on line 10c.
    10a.                                                                                                  $                0.00      $               0.00

    10b.                                                                                                  $                0.00      $               0.00

    10c.       Total amounts from separate pages, if any.                                              +$                  0.00      +               0.00

11. Calculate your total current monthly income. Add lines 2 through 10 for
    each column. Then add the total for Column A to the total for Column B.                               $          2,436.00       +$               0.00      =$           2,436.00
                                                                                                                                                                     Total current
                                                                                                                                                                     monthly income
Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:
    12a.       Copy your total current monthly income from line 11.........................................................       Copy line 11 here     12a. $            2,436.00
               Multiply by 12 (the number of months in a year).                                                                                                                X 12

    12b.       The result is your annual income for this part of the form.. ................................................                             12b. $           29,232.00

13. Calculate the median family income that applies to you. Follow these steps:

               Fill in the state in which you live.                                OH

               Fill in the number of people in your household.                     2


               Fill in the median family income for your state and size of household. ....................................                                   13. $        59,565.00
               To find a list of applicable median income amounts, go online using the link specified in the separate instructions
               for this form. This list may also be available at the bankruptcy clerk’s office.
14. How do the lines compare?
    14a.   Line     12b is less than or equal to line 13. On the top of page 1, check box 1, There is
                no presumption of abuse. Go to Part 3.
    14b.   Line     12b is more than line 13. On the top of page 1, check box 2, The presumption
                of abuse is determined by Form 122A-2. Go to Part 3 and fill out Form 122A–2.

Part 3:         Sign Below
               By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct

               X /S/ Joel Junior Muniz Jr.                                                            X
               Signature of Debtor 1                                                                  Signature of Debtor 2


      Date                            03/20/2019                                               Date
                                     MM / DD / YYYY                                                                            MM / DD / YYYY

               If you checked line 14a, do NOT fill out or file Form 22A–2.
               If you checked line 14b, fill out Form 22A–2 and file it with this form.



Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
           r




           B2030 (Form 2030)(12/15)

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                                        United States Bankruptcy Court
                                                                Northern District Of Ohio


In re                            Joel Junior Muniz                                                   Case No.

Debtor                                                                                               Chapter                      7



                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named
   debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or
   agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or
   in connection with the bankruptcy case is as follows:

     For legal services, I have agreed to accept ................................................................
                                                                                                           $                          800.00

     Prior to the filing of this statement I have received ...................................................
                                                                                                        $                             750.00

     Balance Due...............................................................................................................
                                                                                                                         $             50.00

2. The source of the compensation paid to me was:

                 Debtor                      Other (specify):

3. The source of compensation to be paid to me is:

                 Debtor                      Other (specify):

4.             I have not agreed to share the above-disclosed compensation with any other person unless
                they are members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with another person or persons who
                are not members or associates of my law firm. A copy of the agreement, together with a list of
                the names of the people sharing in the compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the
   bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining
        whether to file a petition in bankruptcy;

   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
        adjourned hearings thereof;




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DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)


d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

e. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                               CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to me for representation of the debtor(s) in this bankruptcy proceedings.


        03/20/2019                     /S/ Jeffrey J. Horvath
           Date                                                    Signature of Attorney

                                       Law Office of Jeffey J. Horvath
                                                                    Name of law firm




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                         CECILIA LOPEZ

                         EDGERTON, OH     43517



                         CHASTITY POLANCO

                         DEFIANCE, OH    43512



                         CREDIT COLLECTION SERVICE
                          PO BOX 607
                         NORWOOD, MA 02062



                         DFAS DE/FYDC
                         8899 EAST 56TH ST.
                         INDIANAPOLIS, IN 46249-3300



                         FIFTH-THIRD BANK
                         39 FOUNTAIN SQUARE PLAZA
                         CINCINNATI, OH 45263



                         NAVY FEDERAL CREDIT UNION
                          PO BOX 3700
                         MERRIFIELD, VA 22119-3700



                         USAA SAVINGS BANK
                         10750 MCDERMOTT FWY
                         SAN ANTONIO, TX 78288-1600




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